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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,

                        Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                           Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                        Defendants.


           MOTION FOR PRO HAC VICE ADMISSION OF MICHAEL L. BLOCH

         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the

   Western District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court,
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   and counsel of record in the instant proceeding, hereby move the Court for the admission of

   Michael L. Bloch, Esq. to appear pro hac vice on behalf of the Plaintiffs in the above captioned

   case and in support thereof state as follows:

           1.      Mr. Bloch is an attorney with Kaplan Hecker & Fink LLP, 350 Fifth Avenue,

   Suite 7110, New York, NY 10118, Tel: (212) 763-0883, Email: mbloch@kaplanhecker.com.

           2.      Mr. Bloch is qualified and licensed to practice law and is a bar member in good

   standing in the District of Columbia (Registration No. 981393 - since June 16, 2008) and the

   State of New York (Registration No. 5271549 - since July 14, 2014).

           3.      Mr. Bloch agrees to submit to and comply with the appropriate rules of

   procedure as required in the case for which he is applying to appear pro hac vice as well as the

   rules and standards of professional conduct applicable to all lawyers admitted to practice before

   this Court.

            WHEREFORE, for the reasons stated above, it is requested that this Court grant this

   motion and permit Michael L. Bloch, Esq. to appear pro hac vice on behalf of Plaintiffs in the

   above captioned case, and to appear at hearings or trials in the absence of an associated member

   of the bar of this Court.


             Dated: February 6, 2019               Respectfully submitted,

                                                   /s/ Robert T. Cahill
                                                   Robert T. Cahill (VSB 38562)
                                                   COOLEY LLP
                                                   11951 Freedom Drive, 14th Floor
                                                   Reston, VA 20190-5656
                                                   Telephone: (703) 456-8000
                                                   Fax: (703) 456-8100
                                                   Email: rcahill@cooley.com

                                                   Counsel for Plaintiffs

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                                        CERTIFICATE OF SERVICE

         I hereby certify that on February 6, 2019, the foregoing was filed with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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  Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew Parrott, Robert Ray,
  Traditionalist Worker Party, Jason Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity
  Evropa), and Christopher Cantwell




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          I further hereby certify that on February 6, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan                 Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                     c/o Andrew Anglin
   the Invisible Empire, Inc.                              P.O. Box 208
   c/o Chris and Amanda Barker                             Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379                                   Andrew Anglin
                                                           P.O. Box 208
   Augustus Sol Invictus                                   Worthington, OH 43085
   9823 4th Avenue
   Orlando, FL 32824                                       East Coast Knights of the Ku Klux Klan
                                                           a/k/a East Coast Knights of the
   Fraternal Order of the Alt-Knights                      True Invisible Empire
   c/o Kyle Chapman                                        26 South Pine St.
   52 Lycett Circle                                        Red Lion, PA 17356
   Daly City, CA 94015


          I further hereby certify that on February 6, 2019, I also served the following non-ECF
  participants, via electronic mail, as follows:

  Elliott Kline
  eli f mosley@gmail.com

  Matthew Heimbach
  matthew.w.heimbach@gmail.com


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
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                                                      Counsel for Plaintiffs




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